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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                     :
SHIVA STEIN,                                         :
                                                     :
                      Plaintiff,                     :     Civil Action No. 17-cv-3077-AMD-ST
                                                     :
              v.                                     :
                                                     :
CELGENE CORPORATION,                                 :
                                                     :
                      Defendant.                     :
                                                     :

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Shiva Stein voluntarily dismisses this action with prejudice pursuant to

Fed.R.Civ.P. 41(a)(1)(A)(i).



Dated: New York, New York                            BARRACK, RODOS & BACINE
       July 18, 2017

                                                     By:      /s/ A. Arnold Gershon
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